                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )
                           )                     C/A: 1:22-cr-00015-APM-1
vs.                        )
                           )
ELMER STEWART RHODES, III, )
    Defendant.             )
_________________________)

                MOTION TO GRANT APPELLATE COUNSEL
                ACCESS TO UNREDACTED TRANSCRIPTS

       Undersigned counsel respectfully asks this Court to enter an order granting

her access to unredacted copies of several transcripts. Counsel has been appointed

by the Court to represent Mr. Rhodes in his direct appeal and believes access to this

transcript is necessary to perform a thorough job of searching for and developing

potentially meritorious legal claims. Counsel will not release the transcript to any

other parties and will, if necessary, file the transcript in the Sealed portion of the

Joint Appendix if it is relevant to any of the claims raised in the brief. She is also aware

of her duty to redact personal identifying information in any public filings. Counsel

requests access to the following unredacted transcripts:

9/27/22—AM session (Zaremba)
9/29/22—AM session (Zaremba)
10/6/22—AM session (Zaremba)
10/13/22—AM session (Zaremba)
10/14/22—AM session (Zaremba)
10/19/22—AM session (Zaremba)


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10/24/22—AM session (Zaremba)
10/26/22—AM session (Zaremba)
11/8/22—AM session (Zaremba)
11/9/22—AM session (Zaremba)
11/17/22—AM session (Zaremba)
9/29/22—PM session (Meyer)
10/13/22—PM session (Edwards)
2/16/22—pretrial hearing (Zaremba)
2/18/22—pretrial hearing (Zaremba)
6/24/22—pretrial hearing (Zaremba)
8/2/22—pretrial hearing (Zaremba)
9/22/22—pretrial hearing (Zaremba)

      Counsel also requests access to all government or defense ex parte exhibits for

purposes of perfecting her client’s appellate brief.

                                      CONCLUSION

      Counsel respectfully requests the Court order that appellate counsel be

allowed access to all unredacted transcripts and all government or ex parte exhibits

for purposes of developing Mr. Rhodes’s case for appellate review.


                                               Respectfully submitted,

                                               /s/ Elizabeth Franklin-Best
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January 10, 2024




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